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&, Kite Response Oca L 0

Patient Name BRANDON WEINBERG 520124 G2-51 Age 36 Years
Date Received 11/12/2019

Time Received

Taken By Audrey Kirby, RDH

Date Initiated 11/10/2019

 

Action & Resolution

Date Time User Detail

11/12/2019 9:41 AM = Audrey Kirby, RDH Schedule Dental Exam approx 11/12/2019 with Dentist by Audrey
Kirby, RDH. . Reason: urgent. Details: missing teeth makes
gums hurt and swell. This makes me unable to eat anything for
a couple of days, which gives me bad headaches. Wondering
about full and partial dentures so | can eat again.. Comments:
Patient is not eligible for routine dental services per MDOC PD
04.06.150, does not meet the two year eligibility requirement. Pt
can kite for routine care after 7/3/21. However you will be
scheduled for an evaluation for the swelling; watch your call out..

Other
Reason: urgent.

Details: missing teeth makes gums hurt and swell. This makes me unable to eat anything for a couple of days,
which gives me bad headaches. Wondering about full and partial dentures so | can eat again..

Comment: Patient is not eligible for routine dental services per MDOC PD 04.06.150, does not meet the two year
eligibility requirement. Pt can kite for routine care after 7/3/21. However you will be scheduled for an evaluation for
the swelling; watch your call out..

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